       Case 0:17-cv-60426-UU Document 223-4 Entered on FLSD Docket 09/28/2018 Page 1 of 1

                                                      UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF FLORIDA
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       ALEKSEJ GUBAREV,
       XBT HOLDING S.A., and
       WEBZILLA, INC.
      _______________________________________/ 3ODLQWLII V 
       )XOO1DPHRI3ODLQWLIIV 
    Y
       BUZZFEED, INC. and
       BEN SMITH
      _______________________________________/'HIHQGDQW V 
       )XOO1DPHRI'HIHQGDQWV 

                                                                        CERTIFICATION OF EMERGENCY

          ,KHUHE\FHUWLI\WKDWDVDPHPEHURIWKH%DURIWKLV&RXUW,KDYHFDUHIXOO\H[DPLQHGWKLVPDWWHUDQGLWLVDWUXH
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    RQP\SDUWEXWKDVEHHQEURXJKWDERXWRQO\E\WKHFLUFXPVWDQFHVRIWKLVFDVH 7KHLVVXHVSUHVHQWHGE\WKLVPDWWHUKDYH
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    )ORULGDSULRUKHUHWR
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